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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                        )   Chapter 11
    In re:                                              )   (Jointly Administered)
                                                        )
    BOY SCOUTS OF AMERICA AND                           )   Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC, 1                                )
                                                        )   Related Docket Nos: Dkt. 11567; 11621
                            Debtors.                    )
                                                        )
                                                        )
                                                        )


                     SUPPLEMENT BRIEF IN SUPPORT OF CLAIMANTS’
                           MOTION TO CHANGE ELECTION

      Babin Law, LLC (“Babin Law”), on behalf of its clients SST-902574 and SST-907529

(“Claimants”), hereby files this Supplemental Brief in support of its Original Motion (D.I. 11567)

and Reply (D.I. 11621), as requested by this Honorable Court during the November 20, 2023

Omnibus Hearing on various Motions to Change Expedited Distribution Elections. The Claimants

respectfully request this Court withdraw or modify Claimants’ operative ballots, and allow

Claimants to proceed through the standard trust distribution process. This Court has the authority

to grant this relief under Rule 3018, the Solicitation Procedures, Section 502(j), the Pioneer

standard for “excusable neglect,” and Rule 60 of the Federal Rule of Civil procedures.




1
  The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 West Walnut Hill Lane, Irving, Texas 75038.

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       1. The Court has the authority to grant the requested relief under Rule 3018 and the
          Solicitation Procedures.

       Claimants have shown good cause, as required by the Solicitation Procedures and Article

V(D)(8) and under Fed. R. Bankr. P. 3018(a) (“Rule 3018”), for this Court to withdraw or modify

the canceled ballots mistakenly received by OMNI and the Trustee. 2

       Under Article V(D)(8) of the Solicitation Procedures, this Court has the express authority to

withdraw or amend ballots: “After the Voting Deadline, a Ballot may only be withdrawn or

modified pursuant to an order of the Bankruptcy Court authorizing such withdrawal or

modification. Any such withdrawal or modification shall be detailed in the Voting Report filed by

the Solicitation Agent.” This provision mirrors the language of, and should be read in tandem

with, Rule 3018(a), which governs procedures for approving a plan: “For cause shown, the court

after notice and hearing may permit a creditor or equity security holder to change or withdraw an

acceptance or rejection.”

       Here, Claimants seek to remedy canceled ballots mistakenly received by OMNI approving the

Third Amended Bankruptcy Plan (“Plan”). The Solicitation Procedures and Rule 3018 expressly

allow changes, modifications, and withdrawals of such ballots. To correct the record consistent

with the Claimants’ intentions and to allow the Claimants to proceed through the Standard Trust

Distribution Process, this Court has the choice of two remedies. It can withdraw the canceled

ballots, or it can modify the canceled ballots to remove the Expedited Distribution Election from

them. Both scenarios are within the grant of authority prescribed by the Solicitation Procedures

and Rule 3018, and either would result in the Claimants being able to proceed through the Standard

Trust Distribution Process, as they intended.


2
    See the Facts as detailed in Babin Law’s original Motion (D.I. 11567).

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   Regarding whether Claimants have shown cause to change or withdraw their ballots as required

by Rule 3018, one unpublished opinion addresses the applicable standard: In re Imerys Talc Am.,

Inc., No. 19-10289 (LSS), 2021 Bankr. LEXIS 2852, at *15-16 (Bankr. D. Del. Oct. 13, 2021). It

holds that, because neither the Bankruptcy Code nor the Bankruptcy Rules define “cause,” it is for

judges to determine “based on the context and to grant or deny a motion at their discretion.” Id.

(citing In re MPM Silicones, LLC, No. 14-22503-rdd, 2014 Bankr. LEXIS 4062, at *5 (Bankr.

S.D.N.Y. Sep. 17, 2014) and In re J.C. Householder Land Trust # 1, 502 B.R. 602 (Bankr. M.D.

Fla. 2013).

   This Court articulated five general principles analyzed in In re MPM Silicones:

       First, the “for cause” standard should not be hard to meet. “As long as the reason for the
       vote change is not tainted, the change of vote should usually be permitted.” In re Dow
       Corning Corp., 237 B.R. 374, 377 (Bankr. E.D. Mich. 1999) (citing 9 Collier on
       Bankruptcy ¶ 3018[4] (15th ed. Rev. 1999)). Second, human error is “cause” to change a
       vote. Human error occurs when there is (i) a breakdown in communications at the voting
       entity; (ii) a misreading of the plan terms; or (iii) the execution of a ballot by one without
       authority corrected by one with authority. MPM Silicones *2 (citing In re Kellogg Square
       Partnership, 160 B.R. 332, 334 (Bankr. D. Minn 1993)). Third, courts look unfavorably
       on votes changes made to enhance an objector's leverage in situations such as to force a
       cram down. Id.* 2 (citing In re Eastern Systems, Inc., 118 B.R. 223 (Bankr. S.D.N.Y. 1990)
       (denying motion), In re Windmill Durango Office, LLC, 481 B.R. 51 (B.A.P. 9th Cir. 2012)
       (denying motion)). Fourth, cause should be “more than a mere change of heart”. Id. (citing
       Windmill Durango, 481 B.R. at 66). Fifth, where plan proponents support the vote change
       in furtherance of a consensual resolution, cause likely exists unless there is some extra
       consideration being offered for the vote change.

       In re Imerys Talc Am., Inc., 2021 Bankr. LEXIS 2852, *15-16.

   Typically, motions brought under Rule 3018 are denied where the creditor believes the change

in the vote will benefit it, based on new facts. See e.g. In re MPM Silicones, LLC, 2014 Bankr.

LEXIS 4062, *5-6; In re Eastern Systems, Inc., 118 B.R. 223 (Bankr. S.D.N.Y. 1990) (denying

motion), In re Windmill Durango Office, LLC, 481 B.R. 51 (B.A.P. 9th Cir. 2012) (denying

motion). In contrast, Courts find cause is shown under the 3018 when “the vote could be changed



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in order to allow the voting entity to ‘intelligently express its will.’” In re Mcorp Fin., Inc., 137

B.R. 237, 238 (Bankr. S.D. Tex. 1992). For example, In re Imerys Talc. Am., Inc., this Court found

good cause to change a creditor’s vote when the creditor was in negotiations with a debtor to

approve the plan and, out of caution, voted to reject the plan before the deadline. However, this

vote was cast at the same time the voting deadline was extended by this Court. After taking

affirmative action based on assurances in the plan, the creditor moved to change his vote. The

Court found cause in this situation.

    In a similar vein, cause for changing or withdrawing a vote can be found “if the vote did not

express the creditor's desires at the time the vote was cast.” 8 Collier on Bankruptcy, P3018.3[4],

at 3018-10 (15th ed. 1990). See also In re MCorp Financial, Inc., 137 B.R. 237, 238-9 (Bankr.

S.D. Tex. 1992); In re Kellogg Square Partnership, 160 B.R. 332 (Bankr. D. Minn. 1993); In re

OBT Partners, Ltd. Pshp., 214 B.R. 863, 869. 3

    Here, the evidence that Claimants intended to cancel, and did cancel, the mistaken ballots is

undisputed. These canceled ballots did not “express the [Claimants’] desires at the time the vote

was cast.” See 8 Collier on Bankruptcy, supra. They were inadvertently submitted to the Trustee

because of human error; namely, a “breakdown in communications at the voting entity”. See In re

Imerys Talc Am., Inc., supra. And their withdrawal or modification would “allow the [Claimants’]

to ‘intelligently express [their] will.’” See In re MCorp Fin., Inc., supra. For all of these reasons,

the cause shown is good and proper, and this Court may grant the requested relief.




3
  Although these cases were decided before plan confirmation, and Rule 3018 is traditionally not used after
confirmation, nothing in the plain language states that it cannot be used after plan confirmation. Courts typically
consider whether confirmation will be delayed or materially affected by a Rule 3018 motion. See e.g. In re Harmony
Holdings, LLC, 395 B.R. 350, 351 (Bankr. D.S.C. 2008). Here, granting the requested relief will have no impact on
confirmation. It will only affect which procedures of the Plan specifically apply to Claimants.

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    2. The Court has the authority to reconsider the Claimants’ claims for cause shown.

    Section 502(j) of the Bankruptcy Code grants bankruptcy courts the power to reconsider, for

cause, a claim that has been allowed or disallowed. 11 U.S.C. § 502(j). Debtor v. IRS ( In re

Galluzzo), Civil Action No. 18-13435 (ES), 2021 U.S. Dist. LEXIS 261904, at *14 (D.N.J. Oct.

25, 2021). The “for cause” standard of this section is identical to that of 3018.

    Under Article IV of the TDP, the Trustee must decide if a claim is “allowed” or “disallowed.”

(D.I. 8813 p. 158). Under that provision, she has determined that Claimants’ claims are “Allowed

Abuse Claims” entitled to the Expedited Distribution under the Plan. These claims, therefore, fall

under the scope of Section 502(j) and can be reconsidered by this Court.

    The Court may use Section 502(j) to change the value and class of a claim as long as it does

not also modify the terms of the Plan.4 As discussed above, the Claimants have shown cause for

this Court to reconsider their claims. Further, the requested change will not alter the terms of the

Plan or the TDP. Claimants will simply move from Expedited Claims to Standard Trust

Distribution “Matrix” Claim. The funds set aside by the Boy Scouts of America will not change;

only the amount allocated to Claimants will change. The requested relief is consistent with and

does not contravene the terms of the Plan. 5 Thus, the Court should reconsider this claim in light of

the evidence presented that the Claimants canceled their ballots and took affirmative actions to

proceed through the standard process.



4
  See United States Dep't of the Treasury - Internal Revenue Serv. v. EB Holdings II, Inc., No. 2:20-cv-01311-GMN,
2021 U.S. Dist. LEXIS 27381, 2021 WL 535467, at *4 (D. Nev. Feb. 11, 2021) (affirming bankruptcy court's
conclusion that adjusting a claim under § 502(j) is distinct from modifying a plan under § 1127); In re Disney, 386
B.R. 292, 303 (Bankr. D. Colo. 2008) (allowing post-confirmation reclassification of claim and corresponding
modification of treatment of that claim under chapter 13 plan); In re Davis, 404 B.R. 183, 188 (Bankr. S.D. Tex.
2009) (same); In re Van Dyke, 286 B.R. 858, 861 (Bankr. C.D. Ill. 2001) (granting reconsideration of order
disallowing claim — after consummation of a chapter 11 plan - because creditor never received notice of objection
to its claim).
5
  As discussed previously in the Claimants’ reply, nothing in the Plan prohibits granting the requested relief. See D.I.
11621 at 4-5.

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    3. The Court has the authority to grant the requested relief under the Pioneer standard.

    When considering a request to correct a mistake, bankruptcy courts typically rely on the

Pioneer standard. 6 Pioneer Inv. Services v. Brunswick Associates, 507 U.S. 380, 395 (1993). To

determine if actions constitute “excusable neglect,” bankruptcy courts consider the following

factors: “danger of prejudice to debtor, the length of delay and its potential impact on judicial

proceedings, the reason for delay, including whether it was within the reasonable control of

movant, and whether movant acted in good faith.” Id. at 382.

    These factors weigh in favor of this Court allowing Claimants to proceed through the standard

trust distribution process, as detailed in the Claimants’ Reply Brief to the Trustee’s Omnibus

Response. (D.I. 11621 at 5-6). While Pioneer considered excusable neglect in the context of a late-

filed proof of claim form, the standard from Pioneer has been applied in many different contexts. 7

    Perhaps the most similar case to the Claimants’ is the Pioneer standard as applied under Rule

3008 Motion. See Pro-Tec Services, LLC v. Inacom Corp., 2004 LEXIS 20822 (Dist. Del. 2004).

In Pro-tec Services, a creditor failed to reply to a debtor’s objection, and the court disallowed the

creditor’s proof of claim form. The Court found excusable neglect even when the mistake was

“that the delay was due to [the creditor’s] lack of care” because the rule “clearly anticipates neglect

on the part of the party seeking to be excused.” Pro-Tec Servs., LLC, 2004 U.S. Dist. LEXIS

20822, at *24. Similarly, the oversight of E-Ballot in this case was due to their lack of care, and


6
  The Third Circuit Court of Appeals has extended the excusable neglect standard set forth in Pioneer Inv. Servs. Co.
to motions made under Federal Rule of Civil Procedure 60(b)(1). See George Harms Constr. Co., Inc. v. Chao, 371
F.3d 156, 163-64 (3d Cir. 2004) (citing Pioneer Inv. Servs. Co., 507 U.S. at 395).
7
  See Pro-Tec Services, LLC v. Inacom Corp., 2004 LEXIS 20822 (Dist. Del. 2004) (allowing or disallowing a
bankruptcy claim); Drippe v. Tobelinski, 604 F.3d 778, 784 (3d Cir. 2010) (untimeliness when filing a motion); day
Cmty. Fin. Serv. Bank v. Edwards (In re Edwards), 748 F. App'x 695, 697 (6th Cir. 2019) (failure to request extension
of deadline); Symbionics Inc. v. Ortlieb, 432 F. App'x 216, 217 (4th Cir. 2011) (excusable neglect found for failure to
comply with a deadline due to lack of technical understanding); Eagle Bus Mfg. v. Rogers, 62 F.3d 730, 732 (5th Cir.
1995) (excusable neglect found when warning of deadline was not conspicuous enough); ZiLOG, Inc. v. Corning (In
re ZiLOG, Inc.), 450 F.3d 996, 997 (9th Cir. 2006) (excusable neglect found when other party’s communications were
misleading).

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Babin Law promptly moved to appeal to the Trustee, and thereafter the Court once the error was

discovered. Additionally, there was no neglect by Claimants, who took affirmative action to ensure

they would be in the standard trust distribution process. For these reasons, and the reasons

discussed in Claimants’ Reply to the Trustee (D.I. 11621 at 5-6), this Court should grant the relief

requested under the Pioneer standard.

   4. The Court has the authority to grant the requested relief under 11 U.S.C. § 105(a)

   Rule 105(a) of the U.S. Bankruptcy Code authorizes a bankruptcy court to “issue any order,

process, or judgment that is necessary or appropriate to carry out the provisions of this title.” 11

U.S.C. § 105(a). The Supreme Court has described Section 105(a) bankruptcy court's “residual

authority” to produce plans that enable “successful and value-maximizing reorganizations,”

including relief not specifically authorized elsewhere in the Bankruptcy Code.” See United States

v. Energy Res. Co., 495 U.S. 545, 549, 110 S. Ct. 2139, 109 L. Ed. 2d 580 (1990). The Third

Circuit has also interpreted this provision to give bankruptcy courts “broad authority” to provide

equitable relief. See, e.g., In re Combustion Engineering, Inc., 391 F.3d 190, 236 (3d Cir. 2004)

   In Energy Resources, the Supreme Court held that the bankruptcy court had the authority under

§§ 105(a) and 1123(b)(6), even though the Bankruptcy Code did not explicitly so provide, to

reallocate the debtor's tax liabilities “if the bankruptcy court determines that this [reallocation] is

necessary to the success of a reorganization plan.” Nat'l Union Fire Ins. v. BSA (In re BSA), 650

B.R. 87, 136 (D. Del. 2023) citing United States v. Energy Resources, 495 U.S. at 549.

   Here, the Court may determine that the relief Claimants are requesting does not fit squarely

within any other provision of the Bankruptcy Code. If so, Section 105(a) is applicable. The

“residual authority” of this Court can be used to grant the requested relief, actualizing the

Claimants intentions to proceed through the Standard Distribution Process. Such a result is


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consistent with the overall letter and spirit of the Plan and the TDP, which were designed for

qualifying Direct Abuse Claimant to receive the recovery they are entitled to under the terms

agreed to by all Parties in this bankruptcy. It is also consistent with a number of provisions of the

Bankruptcy Code, including 3018, 502(j), and 3008, among others, as well as the “residual

authority” of the Court to promote “successful and value-maximizing reorganizations.”

    As is the case here, Relief under 105(a) has been granted in many unique situations where other

provisions of the Bankruptcy Code do not squarely apply. 8 This is particularly true in mass tort

cases, which often generate novel, complex situations that do not fit neatly within the existing

provisions of the Bankruptcy Code. 9 (For example, in this case, the Court has already used its

authority under Section 105(a) to amend the provisions of the TDP and extend the deadline to elect

the Independent Review Option. See D.I. 11537).

    Here, the relief requested by Claimants – to withdraw or modify canceled ballots and to allow

the Claimants to proceed through the Standard Trust Distribution Process – is unique. As such, it

may not fit squarely within any provision of the Bankruptcy Rules or Bankruptcy Code. While

Sections 3018, 3008, and 502(j) provide possible avenues for relief, as discussed above, the Court

may also simply apply its residual authority under 105(a), to grant the Claimants’ requested relief.


    5. The Court has the authority to grant the requested relief pursuant to Fed. R. Civ.
       Proc. 60(b).



8
  MSGI Liquidation Tr. v. Modell (In re Modell's Sporting Goods, Inc.), Nos. 20-14179 (VFP), 22-1076 (VFP), 2023
Bankr. LEXIS 1031, at *4 (Bankr. D.N.J. Apr. 14, 2023) (using Section 105(a) to suspend lease obligations during
the COVID-19 pandemic); In re Naartjie Custom Kids, Inc., 534 B.R. 416, 425-26 (Bankr. D. Utah 2015) (approving
a structured dismissal); Adelphia Communications Corp. v. Rigas (In re Adelphia Communications Corp.), No. 02-
Civ, 8495 GBD.02-41729 REG, 2003 WL 21297258, at *4 (S.D.N.Y. June 4, 2003) (granting an asset freeze
injunction); In re Vascular Access Centers, L.P., No. 19-17117 (AMC), 2022 WL 17366463 (Bankr. E.D. Pa. Dec. 1,
2022) (ordering sanctions on a third party).
9
  See e.g. Roman Cath. Diocese of Rockville Ctr. v. Ark320 Doe (In re Roman Cath. Diocese of Rockville Ctr.), 651
B.R. 622, 637 (Bankr. S.D.N.Y. 2023) (invoking 105(a) to grant a channeling injunction); See In re BSA, 650 B.R.
87.

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     As another alternative, this Court could consider Fed. R. Civ. Proc. 60(b) when analyzing the

Claimant’s Motion. Under Rule 60(b), which is incorporated by Bankruptcy Rule 9024, “the court

may relieve a party or its legal representative from a final judgment, order, or proceeding.” In the

Claimants’ particular situation, the Court can turn to either Rule 60(b)(1), which permits the Court

to grant the requested relief based on “mistake, inadvertence, surprise, or excusable neglect”, or

Rule 60(b)(6), which permits the Court to grant Claimants’ Motion for “any other reason that

justifies relief.”

        i.       Rule 60(b)(1).

        Rule 60(b)(1) has been applied in many different circumstances. 10 It applies to not only

orders and judgments but also to “proceedings.” The Rules themselves do not define this term, but,

according to Black’s Law Dictionary, a “proceeding” includes “all acts and events between the

time of commencement and the entry of judgment” and “[a]n act or step that is part of a larger

action.” Proceeding, Black's Law Dictionary (10th ed. 2014). Pursuant to this Court’s orders

empowering the Plan, the Trustee has been given the express authority to conduct proceedings and

make final decisions regarding specific Claimants. 11

        Because relief under Rule 60(b)(1) must be requested within one year of the “final

judgment, order, or proceeding” (Fed. R. Civ. P. 60(c)(1)), the first key question is which “final

judgment, order, or proceeding” locked the Claimants into the Expedited Distribution option? The



10
   West v. WRH Energy Partners LLC (In re Noram Res., Inc.), 2011 Bankr. LEXIS 5183, *24, (applied to a sale order
of the bankruptcy court); Sportsman's Warehouse, Inc. v. McGillis/Eckman Invs.-Billings, LLC (In re Sportsman's
Warehouse, Inc.), 457 B.R. 372, 395 (assumption order for a party to assume a lease); Otis v. Chesapeake Appalachia,
LLC, 2012 U.S. Dist. LEXIS 66252, *2 (arbitration order); Debtor v. IRS ( In re Galluzzo), 2021 U.S. Dist. LEXIS
261904, *1-2 (confirmation order and order to enforce plan); In re Dematteo, 2022 Bankr. LEXIS 2909, *1 (order
approving waiver of debtor’s discharge).
11
   Under the Plan and the attached Trust Distribution Procedures (TDP), the Trustee has the ability to make a number
of decisions that are final, including whether a claim is allowed or disallowed, whether a claim meets the initial
qualification, and ultimately what relief, if any, a Claimant is entitled to under the terms of the TDP.

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Trustee’s decisions, which are acts (or events or steps) in this action and have full binding effect

on the Claimants’ recovery, should be considered “proceedings” under the plain language of Rule

60(b)(1), and two of them are critical here.

       First, the Trustee decided, based on Claimants’ canceled ballots, that the Claimants fell

into the Expedited Distribution, and she placed them into the claims processing portal as part of

that category in August 2023. Only because of this proceeding – wherein the Trustee sorted the

Claimants into a category they had never intended to select. Second, after Babin Law sought

reconsideration of this categorization from the Trust, the Trustee decided on October 30, 2023,

that she lacked the authority to grant the relief requested. Because of this second proceeding, the

Claimants filed the pending Motion. Because both of these proceedings occurred less than one

year ago, the Claimants’ request for relief from them under Rule 60(b)(1) has been timely made.

       Because Rule 60(b)(1) applies to “final” judgments, orders, or proceedings (Penn West

Associates, Inc. v. Cohen, 371 F.3d 118, 124 (3d Cir. 2004)), the next question is whether the

above proceedings are “final”. When it comes to the question of finality in bankruptcy cases, the

Courts consider: “(1) whether the order leaves additional work to be done by the Bankruptcy Court,

(2) whether the order implicates purely legal issues, (3) the impact of the Bankruptcy Court's order

upon the assets of the debtor's estate, (4) the necessity for further fact-finding on remand to the

Bankruptcy Court, (5) the preclusive effect of the District Court's decision on the merits of

subsequent litigation; and (6) the furtherance of judicial economy.” Kaiser Group Int'l, Inc. v.

Ostrava (In re Kaiser Group Int'l, Inc.), 400 B.R. 140, 143.

       The Trustee’s “proceedings” are a final resolution of the Claimants’ claims against the Boy

Scouts of America for $3,500. Under these factors, the Trustee’s decisions qualify as “final

proceedings.” First, after the Trustee placed Claimants into the Expedited Distribution, no



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subsequent action remains to be completed by the Bankruptcy Court. Second, the Trustee’s

decision is a legal determination based on her reading of the TDP. Third, her decision has no

impact on the debtor’s estate; the funds for the Claimants have already been set aside, and the

Trustee’s decision only affects how that money is allocated among all Claimants. Fourth, the need

for further fact-finding is minimal; the record is clear and undisputed from the exhibits and

declarations submitted by Claimants, and the Court only needs to consider the evidence presented.

Fifth, the relief requested is narrowly targeted and concerns only these two Claimants’ unique

situation. Sixth and finally, because the relief requested is only applicable to these two Claimants,

it will have no impact on the judicial economy in other cases.

       When considering a request to correct a mistake under 60(b)(1), bankruptcy courts

typically rely on the Pioneer standard. Pioneer Inv. Services v. Brunswick Associates, 507 U.S.

380, 395 (1993). Claimants’ Reply Brief to the Trustee’s Omnibus Response, as well as the

discussion above, outlines why these factors support this Court granting the requested relief.

       ii.     Rule 60(b)(6).

       If the Court finds that Rule 60(b)(1) does not apply, or that relief under the rule is time-

barred due to 60(c)(1), this Court can also turn to Rule 60(b)(6), claims under which must be

brought within “a reasonable time.” Rule 60(b)(6) permits the Court to grant Claimants’ Motion

for “any other reason that justifies relief.” Fed. R. Civ. P. 60(b)(6). Relief under this catch-all

provision has been characterized as “a grand reservoir of equitable power to do justice in a

particular case.” Hesling v. CSX Transp., Inc., 396 F.3d 632, 642 (5th Cir. 2005). SB Liquidation

Trust v. Preferred Bank (In re Syntax-Brillian Corp.), 2013 Bankr. LEXIS 194, *21-22. While this

power should be used only when necessary, a Bankruptcy Court may exercise it to “accomplish




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justice” or to deal with “unforeseen contingencies.” Vision Metals, Inc. v. SMS Demag, Inc. (In re

Vision Metals, Inc.), 311 B.R. 692, 698.

       Here, because the situation is an outlier, even among the other Motions to change

Expedited Distribution elections now pending, the Court could turn to this Rule. The Claimants’

intentions were clear before the voting deadline. It is only because of inadvertence that invalid,

canceled ballots, which should have been destroyed, became the Claimants’ operative ballots. This

is exactly the “unforeseen contingency” the rule speaks to. Thus, the Court could utilize its “grand

reservoir of equitable power” to grant the relief requested here. If the relief is not granted, an

“unforeseen justice” will result if Claimants are forced to accept the $3500 Option when their

claims are worth much more.

                                ALTERNATIVE ARGUMENT

       As alternative argument, Movant joins in and adopts the legal arguments of the other

movants as if fully set forth herein. Further, Movant asserts all arguments made in his prior

pleadings as if they were set forth herein.

                                           CONCLUSION

   Claimants have waited nearly 40 years to receive recompense for their suffering and the impact

it continues to have on their lives to this day. Claimants took all necessary steps to do so. They

filed Proof of Claims in the Boy Scouts Bankruptcy. Claimants understood their claims were

valued at hundreds of thousands up to a million under the standard claims resolution process, and

took necessary steps to ensure they would receive a full and fair recovery under the Plan. As it

stands today, Claimants face one barrier to receiving the justice they are entitled to: Claimants are

being held to ballots they canceled before the voting deadline, and are unjustly being forced to

accept a 3500 payment by no fault of their own. This Court has the authority to grant the relief



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requested by Claimants under the Solicitation Procedures, Rule 3018, Section 502(j), the Pioneer

standard, and the Federal Rule of Civil Procedure 60.

   WHEREFORE, Babin Law respectfully requests that the Court withdraw or modify Claimants'

ballots and permit them to proceed through the standard Trust Distribution Procedures and provide

such other and further relief as is just and proper.


Date: December 8, 2023                 BY:     /s/ David Crumplar
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                              CERTIFICATE OF SERVICE

       I, David T. Crumplar, hereby certify that, on this 8th day of December 2023, and in

addition to the service provided under the Court’s CM/ECF system, I caused copies of the

foregoing Supplement Brief In Support Of Claimants’ Motion To Change Election to be served

upon the parties listed on the attached service list by email.



                                             /s/ David Crumplar
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